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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
         v.                                      )       CASE NO.: 1:10-CR-61-TLS
                                                 )
 BENJAMIN A. VANALLEN                            )

                 ORDER ACCEPTING FINDINGS AND RECOMMENDATION

         This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 74] filed on January 28, 2011. The Defendant has waived objection to the

 Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

 Recommendation [ECF No. 74] in its entirety and accepts the recommended disposition. Subject to

 this Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(3), the plea of

 guilty to the offense charged in Count 1s of the Indictment is hereby accepted, and the Defendant is

 adjudged guilty of such offense.

         The sentencing hearing set for May 2, 2011, at 2:00 PM, and the telephone status conference

 set for April 28, 2011, at 9:30 am before Judge Theresa L. Springmann are REAFFIRMED. Any

 request for a sentence involving a departure under the United States Sentencing Guidelines, or for a

 variance above or below a Guidelines sentence pursuant to 18 U.S.C. § 3553(a), with the exception

 of matters raised pursuant to §5K1.1 of the Guidelines, shall be communicated to the probation

 officer and opposing counsel, in writing, within fourteen (14) days following initial disclosure of the

 presentence report. Any sentencing memorandum addressing these or any other issues, including

 requests for a departure based on § 5K1.1, shall be filed with the Court no later than seven (7) days

 prior to the sentencing hearing.

         SO ORDERED on February 14, 2011.

                                                 s/ Theresa L. Springmann
                                                 THERESA L. SPRINGMANN
                                                 UNITED STATES DISTRICT COURT
